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KNOWLES, M.J.
OCTOBER 27, 2015

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA

GENE A. LOVE, SR.                                               CIVIL ACTION

VERSUS                                                          NO. 15-550

GREATWIDE DEDICATED
TRANSPORT, III, L.L.C., et al                                   SECTION "A" (3)


                                         ORDER

      IT IS ORDERED that the Settlement Conference previously set in this

matter at 2:30 P.M. on Monday, November 2, 2015 is hereby RESET at 9:30 A.M.

ON November 2, 2015 before Magistrate Judge Daniel E. Knowles, III, 500 Poydras

Street, Room B335, New Orleans, Louisiana.

      Participation of parties is likely to increase the efficiency and effectiveness of the

settlement conference. Therefore, any party who resides or has a business address in the

Greater New Orleans area shall attend the conference in person with counsel. Parties

from outside of the Greater New Orleans area shall be available by telephone for the

duration of the settlement conference.

      Relaxed business attire is permitted on Fridays.




                                   DANIEL E. KNOWLES, III
                                   UNITED STATES MAGISTRATE JUDGE
